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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

     IN RE:                                              §
     Shawnda Elizabeth Richardson                        §
                                                         §       CASE NO. 24-32537
               DEBTOR                                    §
                                                         §       CHAPTER 13



                   NOTICE OF WITHDRAWAL OF OBJECTION TO CONFIRMATION
                                      (Docket No. 29)

          Deutsche Bank National Trust Company, as Trustee for Ameriquest Mortgage Securities Inc.,

Asset-Backed Pass-Through Certificates, Series 2005-R8, its successors and assigns, (hereinafter referred to

as “PHH”) files this Notice of Withdrawal of its Objection to Confirmation (“Objection”) and in support

thereof would show the Court as follows:

          On 07/29/2024 PHH filed a(n) Objection under Docket No. 29. PHH wishes to withdraw the

Objection.


                                                  Respectfully submitted,

                                                  Codilis & Moody, P.C.

                                                  By: /s/ Kathryn N. Dahlin
                                                  Kathryn N. Dahlin SBOT#24053165
                                                  Kerrie S. Mattson-Neal ARDC#6270224
                                                  Nicole Bartee SBOT#24001674
                                                  Marla A. Skeltis SBOT#24136182
                                                  Peter C. Bastianen ARDC#6244346
                                                  Michael J. Kulak IN Atty. #21347-53
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                                                  ATTORNEYS FOR SECURED CREDITOR
                                                  File No. 44-24-00213

NOTE: This law firm is a debt collector.
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                                               CERTIFICATE OF SERVICE

I hereby certify that on 08/13/2024 a true and correct copy of the above and foregoing documents shall be
served via electronic means, if available, otherwise by regular, first class mail to the following parties at the
addresses indicated by deposit in the United States Mail, first class postage prepaid.


Shawnda Elizabeth Richardson                                 Karen Kisch
1635 W Donovan St                                            6915 Kelsey Rae Court
Houston TX 77091                                             Houston, TX 77069
DEBTOR                                                       ATTORNEY FOR DEBTOR

Tiffany D Castro
9821 Katy Freeway, Ste 590
Houston, TX 77024
CHAPTER 13 TRUSTEE

UNITED STATES TRUSTEE
515 RUSK SUITE 3516
HOUSTON TX 77002




                                                         Codilis & Moody, P.C.

                                                           /s/ Kathryn N. Dahlin
                                                         Kathryn N. Dahlin SBOT#24053165
                                                         Kerrie S. Mattson-Neal ARDC#6270224
                                                         Nicole Bartee SBOT#24001674
                                                         Marla A. Skeltis SBOT#24136182
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